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                   IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION                                            ENTERED
                                                                                          10/17/2016
IN RE:                                        §
KENNETH DUANE EASTMAN II, et al               §       CASE NO: 16-30752
       Debtor(s)                              §
                                              §       CHAPTER 13
                                              §
KENNETH DUANE EASTMAN II, et al               §
     Plaintiff(s)                             §
                                              §
VS.                                           §       ADVERSARY NO. 16-03071
                                              §
KEVIN L PAWLOWSKI, et al                      §
      Defendant(s)                            §

                                          ORDER

       On September 19, 2016, in Civil Action 16-2558, the District Court ordered that the
reference would be withdrawn when all pretrial matters were concluded in this adversary
proceeding.

       At a hearing on October 17, 2016, the parties confirmed to this Court that all pretrial
matters have concluded.

      Accordingly, the Court’s Case Manager should transmit a copy of this Order to the
Honorable Alfred H. Bennett in implementation of his September 19, 2016 order.

       SIGNED October 17, 2016.


                                              ___________________________________
                                                          Marvin Isgur
                                              UNITED STATES BANKRUPTCY JUDGE




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